Case 2:10-md-02179-CJB-DPC Document 11734-3 Filed 10/25/13 Page 1of3

EXHIBIT “B”
Case 2:10-md-02179-CJB-DPC Document 11734-3 Filed 10/25/13 Page 2 of 3

was driving the vehicle and Johnson was seated in the rear. Logsdon said he was seated in the
front and did not speak to Johnson directly; however, he said he could hear Johnson and
Malcolm joking and laughing in casual conversation. Logsdon could not specifically remember
what Johnson and Malcolm were discussing, but he never heard them mention any injuries
incurred by Johnson.

Jeffrey Malcolm

On November 18, 2011, investigators interviewed Jeffrey Malcolm in Tampa Bay, Florida.
In sum and substance and among other things, Malcolm said he was employed by Tidewater
Marine and assigned to PSV Bankston as a Mate at the time of the Deepwater Horizon explosion.

Malcolm remembered occasionally seeing Johnson while crew members recovered survivors
from the water. He remembered that Johnson was working with Logan assisting survivors as
they came out of the water. Malcolm said that once the all survivors were on board PSV
Bankston, he instructed Johnson to help escort them from one area of the main deck to the triage
area; Malcolm said the footing was very slippery so it was important that survivors be assisted in
their movement across the deck. Malcolm said that Johnson also assisted with the task of
moving the injured to the location where helicopters were evacuating the seriously injured.

Malcolm said that after the initial rescue effort, he asked everyone, including Johnson, if they
were okay, and he recalled that no one complained of any injuries. Malcolm said he did not
notice anything unusual about Johnson throughout the incident. He said Johnson, like all the
crew members, initially appeared dazed but that it did not seem unusual, given what they had all
experienced. Malcolm said he completed a Tidewater Marine report concerning Escala’s injury
approximately two weeks after the incident, but that he was never asked to complete a report
concerning Johnson’s alleged injury.

Malcolm said that once the crew members were released in Port Fourchon, he rode in the van
with Escala, Johnson, Marsh and Logsdon en route Amelia, Louisiana. Malcolm said there was
never any mention of an injury to Johnson during the trip.

Malcolm said that Johnson drove him to the New Orleans International Airport after the van
arrived in Amelia, and that Johnson initially seemed happy and simply glad to be going home.
According to Malcolm, Johnson received a telephone call about halfway through the trip from
someone Malcolm believed to be a family member, since Johnson ended the call with the phrase,
“T love you.” Malcolm recalled that after the call ended, Johnson’s mood was very different and
he started complaining of headaches and appeared visibly distressed. Malcolm said that Johnson
also started speaking of feeling bad emotionally, needing to go home, and not being able to

7
Case 2:10-md-02179-CJB-DPC Document 11734-3 Filed 10/25/13 Page 3 of 3

return to work. He said Johnson may have used the word “traumatized” to describe his
condition.

Bill Wayne Marsh

On November 22, 2011, investigators interviewed Bill Wayne Marsh in Amelia, Louisiana.

In sum and substance and among other things, Marsh said he had worked for Tidewater Marine
for 16 years and was assigned to PSV Bankston as a QMED at the time of the Deepwater
Horizon explosion. Marsh said that, following the explosion, he first remembers seeing Johnson
near the FRC, where Johnson told him he did not want to get into the smaller vessel. Marsh said
he later asked Johnson to help with relocating the Jacobs ladders from the port to the starboard
side of PSV Bankston; Marsh said Johnson refused to help, saying something to the effect that he
didn’t want to participate in the rescue. Marsh said Johnson then turned away and walked back
inside the Change Room door. Marsh said that once all of the survivors were pulled from the
water and safely on deck, he saw Johnson again; during this meeting Johnson reportedly told
Marsh he was going to "get some money out of Tidewater." Marsh recalled that he asked
Johnson if he was hurt and that Johnson replied, “No, but everyone on the rig is going to get
some money. Why not me?” Marsh said he then asked Johnson, “How do you expect to get
money if you are not hurt?” According to Marsh, Johnson replied, “I’m all shook up.” Marsh
said Johnson never told him he was actually injured as a result of the explosion or the rescue
operation.

Marsh stated that he did not inform anyone about Johnson’s plan to allege an injury until the day
of this interview. He stated that he advised Tidewater’s crew coordinator, Kerry Mathews, and
Attorney Cliff LaCour, just before the investigators arrived in Amelia. Marsh further related that
at no time did Johnson tell Marsh he was injured as a result of the explosion or the rescue
operation.

Marsh remembered the meeting of all the crewmembers held on the bridge of the PSV Bankston
once they were dockside. He also recalled Derwin Breaux (In-House Counsel for Tidewater)
assisting with the completion of his Coast Guard report, since Marsh cannot read or write.

Marsh went on that during this meeting he was asked by someone, but does not remember who,
if he was all right. Marsh also did not recall completing a Tidewater report concerning the injury
to Escala.”

? LaCour at this time produced a Tidewater Report with Marsh’s name on it; however the report was typed, without
a signature or mark. Marsh could not recall having ever seen this report before.
